Case 8:19-CV-00448-VI\/|C-CPT Document 1-2 Filed 02/20/19 Page 1 of 10 Page|D 64

AO 440 (Rev. 06/|2) Summons in a Civil Action

 

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

SECUR|T|ES AND EXCHANGE CON|N||SS|ON

 

P/aint{/T(s)
V.

SPARTAN SECUR|T|ES GROUP, LTD., |SLAND
CAP|TAL MANAGE|V|ENT LLC, CARL E. DlLLEY,
NllCAH J. ELDRED and DAV|D D. LOPEZ

Civil Action No.

\./\./`/~_/~_/\_/V'\_/\_/VWV

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (/)efendam 's name and address Spartan Securities Group, LTD.
c/o Registered Agent: Christine Zitman
15500 Rooseve|t Blvd.
Suite 303
C|earwater, F|. 33760

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federa| Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff"s attomey,
whose name and address are: Wilfredo Fernandez, Esq.

Securities and Exchange Commission
801 Brickel| Avenue, Suite 1800
Miami, FL 33131

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of C` ler/r or Depuly (`/erk

Case 8:19-CV-00448-VI\/|C-CPT Document 1-2 Filed 02/20/19 Page 2 of 10 Page|D 65

AO 44()(Rev.06/12) Summons in a Civil Action (Pagc 2)

Civil Action No.

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

Thi$ SUlTlmOl'lS fOl‘ (name of individual and til/e. /fany)

 

was received by me on rdme/

CI l personally served the summons on the individual at (p/ace)

 

0|'\ (dale) ; Ol‘

 

Cl l left the summons at the individual’s residence or usual place of abode with mame)

, a person of suitable age and discretion who resides there,

 

on rdwe/ , and mailed a copy to the individual’s last known address; or

Cl l served the summons on mame ofindividual) , who is

 

designated by law to accept service of process on behalf of mame aforgani:arion)

 

 

On (date) § Ol‘
CI l returned the Summons unexecuted because ; or
g O[hel‘ (speclfv).'
My fees are $ for travel and $ for services, for a total of $ Q_OO

I declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Printed name and title

 

Server 's address

Additional information regarding attempted service, etc:

Case 8:19-cV-00448-Vl\/|C-CPT Document 1-2 Filed 02/20/19 Page 3 of 10 Page|D 66

AO 440 (Revl 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT CoURT

for the
l\/|iddle District of Florida

SECUR|T|ES AND EXCHANGE CON|M|SS|ON

 

Plainlij(s)
V .

SPARTAN SECUR|T|ES GROUP, LTD., |SLAND
CAP|TAL MANAGEMENT LLC, CARL E. DlLLE¥,
MlCAH J. ELDRED and DAV|D D. LOPEZ

Civil Action No.

V\_/\_/VVV\./\./\/VV\_/

Defena'anl(s)
SUMMONS IN A CIVIL ACTION

TO: fDefendant 's name and address) lsland Caplfal Nlanagmel'lf, LLC
c/o Registered Agent: Christine Zitman
15500 Rooseve|t Boulevard, Suite 303
C|earwater, FL 33760

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Wi|fredo Fernandez, Esq.

Securities and Exchange Commisslon
801 Bricke|| Avenue, Suite 1800
|Vliami, FL 33131

If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK GF COURT

Date:

 

 

Signature of C lerk or Deputy (`Ierk

Case 8:19-cV-00448-Vl\/|C-CPT Document 1-2 Filed 02/20/19 Page 4 of 10 Page|D 67

A() 440 (Rev. 06/|2) Summons in a Civil Action (Pagc 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

Thi$ Summons for (name of individual and title. if any)

 

was received by me on /dare)

13 l personally served the summons on the individual at (p/ace)

 

on (dare) ; or

 

|J l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on rdare/ , and mailed a copy to the individual’s last known address; or

Cl l served the summons on (name ofindividua/) , who is

 

designated by law to accept service of process on behalf of mame ofargani:arion)

 

 

 

On (date) § 0!°
Cl | returned the summons unexecuted because ; or
lj Ofl'ler /specifv):
My fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Printed name and title

 

Server `s address

Additional information regarding attempted service, etc:

Case 8:19-CV-00448-V|\/|C-CPT Document 1-2 Filed 02/20/19 Page 5 of 10 Page|D 68

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

SECUR|T|ES AND EXCHANGE CO|V|N||SS|ON

 

Plainliff(s/
V.

SPARTAN SECUR|T|ES GROUP, LTD., |SLAND
CAP|TAL MANAGEMENT LLC, CARL E. DlLLEY,
MlCAH J. ELDRED and DAV|D D. LOPEZ

Civil Action No.

Defendanl(s)
SUMMONS IN A CIVIL ACTION

TOZ (Defendanl`s name and address) Carl E. Dilley
15500 Roosevelt Blvd.
Suite 310
C|earwaterl F|. 33760

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the clay you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. |2 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are: Wi|fredo Fernandezl Esq.

Securities and Exchange Commission
801 Brickell Avenue, Suite 1800
Nliami, FL 33131

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signalure ofC`ler/c or Deputy C`/erk

l

Case 8:19-CV-00448-V|\/|C-CPT Document 1-2 Filed 02/20/19 Page 6 of 10 Page|D 69

AO 440 (Revl 06/12) Summons in a Civil Aclion (Pagc 2)

 

Civil Action No.

PROOF OF SERV[CE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS Summons for (name of individual and title, if an_v)

 

was received by me on (dare/

|:l l personally served the summons on the individual at (place)

 

On (date) ; Ol`

 

Cl l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

Cl l served the summons on tname ofindividua/) , who is

 

designated by law to accept service of process on behalf of (name aforganizarion)

 

 

On (a’ate) ; or
Cl l returned the summons unexecuted because ; or
0 Oih€l‘ (specij_"v):
My fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

Date:

 

Server `s signature

 

Printed name and title

 

Server 's address

Additional information regarding attempted service, etc:

Case 8:19-CV-00448-V|\/|C-CPT Document 1-2 Filed 02/20/19 Page 7 of 10 Page|D 70

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

SECUR|T|ES AND EXCHANGE COMM|SS|ON

 

P/ainlijf(s)
V .

SPARTAN SECUR|T|ES GROUP, LTD., |SLAND
CAP|TAL MANAGEMENT LLCl CARL E. D|LLEY,
MlCAH J. ELDRED and DAV|D D. LOPEZ

Civil Action No.

\/\/\./V\/\./\./\./\./\./\./\./

Defendanl(s)
SUMMONS IN A CIVIL ACTlON

TOZ (Defendant's name and address) David D. LOpeZ
930 13th AVe. N.
Saint Petersburgl FL 33704-1144

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the clay you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff"s attomey,
whose name and address are: Wi|fredo Fernandez, Esq.

Securities and Exchange Commission
801 Brickell Avenue, Suite 1800
|\/|iamil FL 33131

If` you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
Vou also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of (` lerk or Depul_v Clerlc

Case 8:19-CV-00448-V|\/|C-CPT Document 1-2 Filed 02/20/19 Page 8 of 10 Page|D 71

AO 440 (Rev. 06/|2) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and /ir/e. if an_w

 

was received by me on tdwe/

EI l personally served the summons on the individual at (p/ace)

 

On (dale) ; Ol”

 

C| l left the summons at the individual’s residence or usual place of abode with /name)

, a person of suitable age and discretion who resides there,

 

on rdaze) , and mailed a copy to the individual’s last known address; or

lj l S€I'V€d the SUmmOnS on (name of individual) , WhO lS

 

designated by law to accept service of process on behalf of (name ofargani:aiion)

 

 

 

011 (dale) ; Or
El l returned the summons unexecuted because ; or
g Oth€l' (specifv):
My fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

l’rimed name and title

 

Server 's address

Additional information regarding attempted service, etc:

Case 8:19-CV-00448-V|\/|C-CPT Document 1-2 Filed 02/20/19 Page 9 of 10 Page|D 72

AO 440 (Rev. 06/12) Summons in a Civil Aclion

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

SECUR|T|ES AND EXCHANGE COMM|SS|ON

 

Plaintiff(s)
v.

SPARTAN SECUR|T|ES GROUP, LTD.l |SLAND
CAP|TAL |V|ANAGENIENT LLCl CARL E. D|LLEY,
MlCAH J. ELDRED and DAV|D D. LOPEZ

Civil Action No.

V`/\/\_/\_J\./\./\/\./\./V\/

Defenclanl(s)
SUMMONS IN A CIVIL ACTION

TO: (Defendant`s name and address) lVliCah J. Eld fed
14495 Red Bird Court
Semino|e, FL 33776

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are: Wilfredo Fernandez, Esq.

Securities and Exchange Commission
801 Brickell Avenue, Suite 1800
Miamil FL 33131

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk

Case 8:19-CV-00448-V|\/|C-CPT Document 1-2 Filed 02/20/19 Page 10 of 10 Page|D 73
AO 440 (Rev. 06/|2) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS Summons for maine of individual and tille. if any)

 

was received by me on (daze)

|J l personally served the summons on the individual at (p/ace)

 

011 (date) ; Ol'

 

IJ l left the summons at the individual’s residence or usual place of abode with (name/

, a person of suitable age and discretion who resides there,

 

on rdare/ , and mailed a copy to the individual’s last known address; or

CI l served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name ofargani.~arion)

 

 

 

on (dare) ; or
lJ l returned the summons unexecuted because ; or
ij Oth€l' (specifi'):
My fees are $ for travel and $ for services, for a total of` $ 0_00

l declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Printed name and title

 

Server 's address

Additional information regarding attempted service, etc:

